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 9
                                IN THE UNITED STATES DISTRICT COURT
10
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

12

13   EASTON STOKES,                                         3:19-cv-04613-WHA

14                                             Plaintiff, DEFENDANT CALIFORNIA
                                                          ATTORNEY GENERAL ROB BONTA’S
15                  v.                                    OPPOSITION TO PLAINTIFF’S CROSS-
                                                          MOTION FOR SUMMARY JUDGMENT
16
     THE UNITED STATES DEPARTMENT                           Date:           June 17, 2021
17   OF JUSTICE, WILLIAM BARR,                              Time:           8:00 a.m.
     individually and as Attorney General of the            Courtroom:      Remote
18   United States, THE U.S. BUREAU OF                      Judge:          Hon. William Alsup
     ALCOHOL, TOBACCO, FIREARMS AND                         Trial Date:     None Set
19   EXPLOSIVES (ATF); REGINA                               Action Filed:   August 12, 2019
     LOMBARDO individually and as Acting
20   Director of ATF; THE FEDERAL
     BUREAU OF INVESTIGATION;
21   Christopher Wray individually and as
     Director of the Federal Bureau of
22   Investigation; STATE OF CALIFORNIA,
     ROB BONTA, individually and acting as
23   Attorney General of the State of California,
     THE SONOMA COUNTY SHERIFF'S
24   OFFICE, MARK ESSICK, individually and
     as Sheriff of Sonoma County,
25
                                            Defendants.
26

27

28

                         Defendant Attorney General Rob Bonta’s Opposition to Plaintiff’s MSJ (3:19-cv-04613-WHA)
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 1                                               INTRODUCTION

 2           Plaintiff’s Cross-Motion for Summary Judgment (ECF No. 90) is not directed at California

 3   law or the actions of the California Attorney General. Instead, Plaintiff’s motion, and his entire

 4   case, is focused on the constitutionality of a federal statute – 18 U.S.C. § 922(g)(4) – and the

 5   application of that statute by the federal government to prohibit Plaintiff from possessing a

 6   firearm. As such, the California Attorney General defers to the Federal Defendants in opposing

 7   Plaintiff’s motion. Nevertheless, the California Attorney General provides the following response

 8   to some of the arguments made in Plaintiff’s motion.

 9                                                 ARGUMENT

10   I.      THE MENTAL HEALTH FACILITY IS PRESUMED TO COMPLY WITH THE LAW

11           The California Attorney General’s Motion for Summary Judgment provides an overview of

12   the process that a mental health facility must follow in order to certify a patient for involuntary

13   treatment under California Welfare & Institutions Code § 5250 (a “5250 hold”). ECF No. 89 at

14   1-2. Plaintiff claims that the mental health facility did not follow this process because he does not

15   recall having a certification hearing or receiving a notice of certification. See Plaintiff’s Cross-

16   Motion for Summary Judgment (ECF No. 90) at 5-6, 11. However, Plaintiff testified that he only

17   had vague memories from that time. For example, when asked whether he had a clear memory of

18   what happened after taking drugs, Plaintiff testified:

19            I did not have a very clear memory of after Friday when I stopped sleeping
              and not feeling myself. I would describe my -- I wouldn’t describe my
20            memory as very clear. I have good memories of certain pieces, but when I
              stopped sleeping, my memory -- a lot of my -- I became -- things became
21            much more unclear.
22   Exhibit 1 (Stokes Nov. 20, 2020 Deposition) at 103:8-13 (emphasis added). When asked about
23   his evaluation at Kaiser, Plaintiff stated:
24            I don’t remember. Everything is really blurry. I’m on three days of maybe
              a couple of hours of sleep. I’m somewhat -- I remember being relieved to
25            be in a place where I felt like I was going to get care. But I don’t recall that
              process, no.
26
     Id. at 110:15-19 (emphasis added). And when asked about his time at Oakcrest (the mental health
27
     facility), Plaintiff testified:
28
                                                           1
                          Defendant Attorney General Rob Bonta’s Opposition to Plaintiff’s MSJ (3:19-cv-04613-WHA)
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 1          So I remember getting there and being in a room and being very confused
            and disoriented. And they gave me sort of sedative, and I just fell asleep
 2          for about -- I don’t recall, 72 hours of just being asleep.
 3   Id. at 111:20-24 (emphasis added). At bottom, Plaintiff simply cannot recall certain events
 4   almost 20 years ago and during a time of confusion and disorientation and of which his memory
 5   is admittedly unclear. This does not mean that the mental health facility failed to follow the
 6   requirements for certifying his 5250 hold.

 7         To the contrary, the presumption is that the law has been obeyed. See Cal. Civ. Code

 8   § 3548 (“The law has been obeyed”); see also United States v. Norton, 97 U.S. 164, 168 (1877)

 9   (“It is a presumption of law that officials and citizens obey the law and do their duty”). Here,

10   there are no records or any other evidence to suggest that the mental health facility did not

11   comply with the law or failed to provide Plaintiff with a certification review hearing. In fact, the

12   mental health facility followed the law when it reported Plaintiff’s 5250 hold to the California

13   Department of Justice. See Cal. Welf. & Inst. Code § 8103(g)(2). Plaintiff fails to meet his

14   burden of showing that he did not actually receive a certification review hearing or that the

15   mental health facility erred in reporting his 5250 hold. 1

16   II.   THE 5250 HOLD PROCESS PERMITS JUDICIAL REVIEW AND MEETS THE DEFINITION
           OF “COMMITTED TO A MENTAL HEALTH INSTITUTION”
17

18         Any person subject to a 5250 hold has the right to request judicial review by habeas corpus

19   before or after a certification review hearing. See Cal. Welf. & Inst. Code §§ 5254.1, 5256.7, and

20   5275. Here, Plaintiff never requested judicial review. The failure to request judicial review does

21   not mean that a 5250 hold lacked judicial involvement. Indeed, courts generally consider that a

22   party has an adequate opportunity to litigate when a party has an opportunity to ask for judicial

23   review, even if he chooses not to take it. See Misischia v. Pirie, 60 F.3d 626, 630 (9th Cir. 1995).

24   Thus, a person subject to a 5250 hold should not be able to avoid the firearms prohibition under

25   18 U.S.C. § 922(g)(4) simply by choosing not to request judicial review.

26
            1
             Even if there were some evidence that the mental health facility did not comply with the
27   procedures for placing Plaintiff on a 5250 hold or otherwise erred in reporting a 5250 hold, it is
     the mental health facility, not the California Attorney General, that must correct that information.
28   See Gilbert Mac Declaration (ECF No. 89-1), at ¶ 15.
                                                        2
                        Defendant Attorney General Rob Bonta’s Opposition to Plaintiff’s MSJ (3:19-cv-04613-WHA)
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 1         Moreover, federal regulations define “committed to a mental institution” to mean a “formal

 2   commitment of a person to a mental institution by a court, board, commission, or other lawful

 3   authority. The term includes a commitment to a mental institution involuntarily.” 27 C.F.R.

 4   § 478.11. A 5250 hold meets this definition. In particular, a patient “may be detained for

 5   involuntary care . . . pursuant to Section[] 5250” after a certification review hearing and “the

 6   person conducting the hearing finds that there is probable cause that the person certified is, as a

 7   result of a mental disorder or impairment by chronic alcoholism, a danger to others, or to himself

 8   or herself, or gravely disabled . . . .” Cal. Welf. & Inst. Code § 5256.6. The hearing is conducted

 9   by “either a court-appointed commissioner or a referee, or a certification review hearing officer

10   [who is] . . . selected from a list of eligible persons unanimously approved by a panel composed

11   of the local mental health director, the county public defender, and the county counsel or district

12   attorney designated by the county board of supervisors.” Id. § 5256.1.

13         The 5250 certification review hearing also meets the requirements for a “commitment”

14   under the First Circuit’s decision in United States v. Rehlander, 666 F.3d 45 (1st Cir. 2012). 2 In

15   that case, the First Circuit concluded that an involuntary hospitalization without adversary

16   proceedings and with no findings by an administrative officer did not qualify as a “commitment.”

17   Id. at 47-48. On the other hand, a commitment after an adversary hearing and a determination

18   that the patient is mentally ill and poses a likelihood of serious harm would create “a

19   presumptively valid section 922 ban.” Id. at 48, 50. Here, in the certification review hearing, the

20   patient may receive assistance from an attorney or patient advocate, present evidence, and

21   question witnesses. See Cal. Welf. & Inst. Code §§ 5256–5256.7. After the hearing, a

22   certification review hearing officer must determine whether a person, as a result of a mental

23   disorder, is a danger to himself or others. Id. §§ 5256.1 and 5256.6. If so, then the patient is

24   detained for involuntary treatment. Id. § 5256.6. Even after the certification review hearing, the

25   patient still has the right to request another hearing in California superior court. Id. § 5256.7. In

26
            2
               As the Federal Defendants noted in their cross-motion for summary judgment, the Ninth
27   Circuit in Mai v. United States cited Rehlander for the proposition that “state-law procedures that
     lack robust judicial involvement do not qualify as commitments for purposes of § 922(g)(4).”
28   952 F.3d 1106, 1110 (9th Cir. 2020).
                                                      3
                        Defendant Attorney General Rob Bonta’s Opposition to Plaintiff’s MSJ (3:19-cv-04613-WHA)
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 1   sum, the 5250 hold process includes several due process safeguards, including the right to request

 2   judicial review, and thus qualifies as a “commitment” under 18 U.S.C. § 922(g)(4).

 3   III. PLAINTIFF WAS “ADJUDICATED AS A MENTAL DEFECTIVE”
 4         Even if the process for a 5250 hold under California law is not considered a “commitment,”

 5   18 U.S.C. § 922(g)(4) also applies to anyone who has been “adjudicated as a mental defective.”

 6   Federal regulations define “adjudicated as a mental defective” to mean “a determination by a

 7   court, board, commission, or other lawful authority that a person, as a result of . . . mental

 8   illness . . . is a danger to himself or to others . . . .” 27 C.F.R. § 478.11. In the case of a 5250

 9   hold, as discussed above, there is an adversarial type hearing where the patient may receive

10   assistance from an attorney and present evidence. See Cal. Welf. & Inst. Code §§ 5256–5256.4.

11   After the hearing, a certification review hearing officer (i.e., a “lawful authority”) determines

12   whether there is probable cause that a person, as a result of a mental disorder, is a danger to

13   himself or others and detained for involuntary treatment. Id. § 5256.6. So, Plaintiff’s 5250

14   certification review hearing is an “adjudication” 3 and prohibits him from possessing a firearm

15   under 18 U.S.C. § 922(g)(4).

16   IV.   PLAINTIFF’S DUE PROCESS CLAIMS ARE DERIVATIVE OF HIS SECOND AMENDMENT
           CLAIM
17

18         Resolution of Plaintiff’s Second Amendment claim would resolve his due process claims.

19   With respect to his substantive due process claims, the United States Supreme Court has stated

20   that “[w]here a particular Amendment ‘provides an explicit textual source of constitutional

21   protection’ against a particular sort of government behavior, ‘that Amendment, not the more

22   generalized notion of ‘substantive due process’ must be the guide for analyzing these claims.’”

23   Albright v. Oliver, 510 U.S. 266, 274 (1994) (quoting Graham v. Connor, 490 U.S. 386, 395

24   (1989)). The Ninth Circuit has also held that when equal protection and due process claims are

25   “derivative” of the Second Amendment claims, then resolution of the Second Amendment

26

27           3
               As also discussed above, the law requires that a certification review hearing be held for
     all patients subject to a 5250 hold, id. § 5256, and there is no evidence that Plaintiff’s mental
28   health facility failed to follow the law.
                                                        4
                        Defendant Attorney General Rob Bonta’s Opposition to Plaintiff’s MSJ (3:19-cv-04613-WHA)
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 1   question “necessarily resolves” those “derivative claims.” Peruta v. County of San Diego, 824

 2   F.3d 919, 942 (9th Cir. 2016) (en banc).

 3          As for Plaintiff’s procedural due process claim, courts must first determine whether the

 4   government action is even “the type . . . to which due process applies.” Harris v. County of

 5   Riverside, 904 F.2d 497, 501 (9th Cir. 1990). In the context of 18 U.S.C. § 922(g)(4), courts have

 6   concluded that procedural due process principles do not apply. Keyes v. Lynch, 195 F. Supp. 3d

 7   702, 723 (M.D. Pa. 2016) (rejecting the plaintiff’s “contention that he deserved some kind of

 8   hearing before or after being subjected to the disability under § 922(g)(4)” because “the statute

 9   subsection is clear that anyone who has been committed for mental health is subject to it; thus a

10   hearing on whether the plaintiff is still dangerous is not in fact relevant”); Jefferies v. Sessions,

11   278 F. Supp. 3d 831, 846 (E.D. Pa. 2017) (agreeing with the district court’s rationale in Keyes

12   that there is no procedural due process right before applying § 922(g)(4) to the plaintiff). Thus,

13   an individual does not have a right to a hearing prior to deprivation or post-deprivation of his

14   Second Amendment right under 18 U.S.C. § 922(g)(4). See id. So it is here. If the Court

15   determines that application of § 922(g)(4) to Plaintiff does not violate the Second Amendment,

16   then any hearing on whether Plaintiff still suffers from mental health issues is unnecessary.

17   V.     PLAINTIFF’S EQUAL PROTECTION CHALLENGE IS SUBSUMED BY HIS SECOND
            AMENDMENT CLAIM
18

19          The Ninth Circuit has stated that where an “equal protection challenge is no more than a

20   Second Amendment claim dressed in equal protection clothing, it is subsumed by, and

21   coextensive with the former, and therefore not cognizable under the Equal Protection Clause.”

22   Teixeira v. County of Alameda, 822 F.3d 1047, 1052 (9th Cir. 2016) (quotations marks, brackets,

23   and internal citation omitted), vacated by, 854 F.3d 1046 (9th Cir. 2016), and reh’g en banc, 873

24   F.3d 670 (9th Cir. 2017), cert. denied, No. 17-982 (U.S. May 14, 2018); see also Flanagan v.

25   Harris, No. LA CV16-06164 JAK (ASx), 2017 WL 729788, at *5 (C.D. Cal. Feb. 23, 2017) (“An

26   Equal Protection claim brought under the Fourteenth Amendment that is the same as one brought

27   simultaneously under a different constitutional provision cannot provide an independent basis for

28   relief.”).
                                                         5
                        Defendant Attorney General Rob Bonta’s Opposition to Plaintiff’s MSJ (3:19-cv-04613-WHA)
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 1         Other courts have reached the same conclusion. See, e.g., Kwong v. Bloomberg, 723 F.3d

 2   160, 170 n.19 (2d Cir. 2013) (“Like every Circuit to have addressed this issue, we simply

 3   conclude that plaintiffs should not be allowed to use the Equal Protection Clause to obtain review

 4   under a more stringent standard than the standard applicable to their Second Amendment claim.”

 5   (quotation marks omitted)). Thus, Plaintiff’s claim that his equal protection rights have been

 6   violated because his fundamental rights under the Second Amendment have been violated, see

 7   Plaintiff’s Cross-Motion for Summary Judgment (ECF No. 90) at 14, cannot provide an

 8   independent basis for relief.

 9         Further, as noted in the California Attorney General’s Motion for Summary Judgment, this

10   case does not involve a suspect classification and thus rational basis review applies. See Nordyke

11   v. King, 681 F.3d 1041, 1043 n.2 (9th Cir. 2012) (en banc) (stating that rational basis scrutiny

12   applies to the plaintiffs’ equal protection claim when the challenged law is found not to violate

13   the First or Second Amendment and the law does not involve a suspect classification). And the

14   rational basis standard would be met because the purpose of 18 U.S.C. § 922(g)(4) is related to a

15   legitimate government interest. See Mai, 952 F.3d at 1116 (agreeing that preventing crime and

16   suicide are legitimate interests supporting 18 U.S.C. § 922(g)(4)).

17                                              CONCLUSION
18         In response to Plaintiff’s Cross-Motion for Summary Judgment, the California Attorney

19   General notes that California law requires mental health facilities to follow a specific procedure,

20   which includes a certification review hearing, when placing a patient on a 5250 hold for

21   involuntary treatment. In this case, Plaintiff does not provide any evidence that the mental health

22   facility failed to follow this robust process. So, Plaintiff’s 5250 hold qualifies as both a

23   “commitment” and “adjudication” under 18 U.S.C. § 922(g)(4). Further, the Ninth Circuit has

24   held that 18 U.S.C. § 922(g)(4) does not violate the Second Amendment. And because Plaintiff’s

25   Second Amendment claim subsumes both his equal protection and due process claims, those

26   claims fail as a matter of law.

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                        Defendant Attorney General Rob Bonta’s Opposition to Plaintiff’s MSJ (3:19-cv-04613-WHA)
      Case 3:19-cv-04613-WHA Document 94 Filed 05/27/21 Page 11 of 22



 1   Dated: May 27, 2021                                 Respectfully Submitted,

 2                                                       ROB BONTA
                                                         Attorney General of California
 3                                                       ANTHONY R. HAKL
                                                         Supervising Deputy Attorney General
 4

 5

 6                                                             /s/ Jerry T. Yen
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 7                                                       Deputy Attorney General
                                                         Attorneys for State of California and Rob
 8                                                       Bonta, in his official capacity as California
                                                         Attorney General
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                    Defendant Attorney General Rob Bonta’s Opposition to Plaintiff’s MSJ (3:19-cv-04613-WHA)
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                       EXHIBIT 1
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                   In The Matter Of:
                     Easton Stokes v.
        United States Department of Justice, et al.




                        Easton Stokes
                      November 20, 2020




        Behmke Reporting and Video Services, Inc.
              455 Market Street, Suite 970
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                                                              Page 1                                                             Page 3
 1                UNITED STATES DISTRICT COURT                          1   APPEARANCES OF COUNSEL:
 2               NORTHERN DISTRICT OF CALIFORNIA                        2   FOR THE PLAINTIFF EASTON STOKES:
 3                     SAN FRANCISCO DIVISION                           3          LAW OFFICES OF TIMOTHY KELLY
 4                                                                      4          BY:   TIMOTHY KELLY, ATTORNEY AT LAW
 5    - - - - - - - - - - - - - -                                       5                (VIA VIDEOCONFERENCE)
 6   EASTON STOKES,                 )                                   6          1403 Spyglass Parkway
 7                 Plaintiff,       )   CASE NO.                        7          Vallejo, California 94591
 8   vs.                            )   3:19-CV-04613 WHA               8          Telephone:   (707) 570-7507
 9   UNITED STATES DEPARTMENT       )                                   9          Email:   tskelliot@gmail.com
10   OF JUSTICE, et al.,            )                                  10
11            Defendants.           )                                  11   FOR THE FEDERAL DEFENDANTS:
12    - - - - - - - - - - - - - -                                      12          UNITED STATES ATTORNEY'S OFFICE
13                                                                     13          BY:   JULIE DAVIS, ASSISTANT U.S. ATTORNEY
14                                                                     14                ERIC SOSKIN, ASSISTANT U.S. ATTORNEY
15                                                                     15                (VIA VIDEOCONFERENCE)
16             REMOTE DEPOSITION OF EASTON STOKES                      16          1301 Clay Street, Suite 340-S
17                    FRIDAY, NOVEMBER 20, 2020                        17          Oakland, California 94612
18                                                                     18          Telephone:   (510) 637-3701
19                                                                     19          Email:   julie.davis@usdoj.gov
20                                                                     20                   eric.soskin@usdoj.gov
21                      BEHMKE REPORTING AND VIDEO SERVICES, INC.      21
22      BY: ANGELA SINCLAIR, RMR, RPR, CRR, CCRR, CSR NO. 13902        22
23                                      455 MARKET STREET, SUITE 970   23
24                                SAN FRANCISCO, CALIFORNIA 94105      24
25                                                   (415) 597-5600    25

                                                              Page 2                                                             Page 4
                                                                        1   APPEARANCES OF COUNSEL - (CONTINUED):
 1
                                                                        2   FOR THE STATE DEFENDANTS:
 2
                                                                        3          DEPARTMENT OF JUSTICE
 3
                                                                        4          OFFICE OF THE ATTORNEY GENERAL
 4
                                                                        5          BY:   JERRY YEN, DEPUTY ATTORNEY GENERAL
 5
 6                                                                      6          1300 I Street

 7                                                                      7          Sacramento, California 95814

 8         Remote Deposition of EASTON STOKES located in
                                                                        8          Telephone:   (916) 210-7836

 9   Santa Rosa, California, taken on behalf of Federal                 9          Email:   jerry.yen@doj.ca.gov

10   Defendants via Zoom videoconference, with the                     10
11   witness in Santa Rosa, California, commencing at                  11
12   9:02 A.M., FRIDAY, NOVEMBER 20, 2020, before Angela               12
13   Sinclair, Certified Shorthand Reporter No. 13902,                 13
14   pursuant to Notice of Deposition.                                 14
15                                                                     15
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                                                      (415) 597-5600
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United States Department of Justice, et al.                                                                    November 20, 2020
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 3    EASTON STOKES                                PAGE
                                                                3                 EASTON STOKES,
 4      Examination by MS. DAVIS                       7
                                                                4              affirmed as a witness,
 5    P.M. SESSION                                   125
                                                                5              testified as follows:
 6      Examination resumed by MS. DAVIS             125
                                                                6         MS. DAVIS: Thank you, Madam Court Reporter.
 7      Examination by MR. YEN                       126
                                                                7   And thank you for appearing here today.
 8                                                              8         There's one housekeeping matter I want to get
 9                                                              9   on the record before we get started. I just want to
10                                                             10   make sure that all the attorneys agree that this
11                                                             11   deposition is a remote deposition and can be used for
12                                                             12   all purposes for in-person deposition under the federal
13                               -oOo-                         13   rules. Do you stipulate?
14                                                             14         MR. KELLY: Yes, so stipulated.
15                                                             15         MS. DAVIS: Jerry?
16                                                             16         MR. YEN: Yes, I do.
17                                                             17         MS. DAVIS: Okay. Thank you.
18                                                             18   EXAMINATION BY MS. DAVIS:
19                                                             19       Q. All right. Mr. Stokes, I represent the federal
20                                                             20    defendants in this action, so I represent the
21                                                             21    United States. And we're going to be asking you some
22                                                             22    questions about the case that you filed.
23                                                             23          Have you ever been deposed before?
24                                                             24       A. No. This is my first time.
25                                                             25       Q. Okay. So I'm going to give you some


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 1                            EXHIBITS
                                                                1    information about a deposition to start out with. Let
 2                         EASTON STOKES
                                                                2    me know if you have any questions.
 3    Number                Description            Page
                                                                3          First, and most importantly, we need verbal
 4                     (No exhibits marked.)
                                                                4    answers because the court reporter is recording this.
 5
                                                                5    That means no nods or head shakes because they can't be
 6                                                              6    recorded.
 7                                                              7      A. Okay.
 8                                                              8      Q. Do you understand?
 9                                                              9      A. I do.
10                                                             10      Q. In addition, please say "yes" or "no" as
11                                                             11    opposed to "uh-huh" or "huh-uh," again, so that the
12                                                             12    court reporter can record it.
13                                                             13      A. Yes, I understand.
14                                                             14      Q. Okay. Also, we can't speak at the same time,
15                                                             15    so please wait until you're sure I've completed the
16                                                             16    question before you respond. It's okay if you ask for
17                                                             17    clarification or if you pause before answering.
18                                                             18      A. Okay.
19                                                             19      Q. Also, it's okay to say "I don't know" or "I
20                                                             20    don't have an opinion," but I am entitled to your best
21                                                             21    recollection of the events.
22                                                             22      A. Okay.
23                                                             23      Q. Do you understand?
24                                                             24      A. I do understand, yeah.
25                                                             25      Q. Thank you. While we're not in a courtroom and


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 1   this situation seems informal, the deposition is under              1   timeline, I could ask for information as far as
 2   oath; therefore, it's the same testimony in a courtroom             2   clarification of the question and what's already on the
 3   and you are required to tell the truth.                             3   record, I believe was available.
 4         Do you understand?                                            4     Q. Okay. I'm just going to say you don't have
 5     A. I do understand, yes.                                          5   to -- please don't have any communication between you
 6     Q. Okay. Your attorney or the other attorneys in                  6   and your attorney. You're not required to answer that.
 7   this deposition may object to a question. Even if                   7          MS. DAVIS: And, Tim, we will not construe that
 8   there's an objection, you may still answer the question.            8   as any waiver of the privilege, okay?
 9   The objection will just be recorded in the transcript.              9          MR. KELLY: Absolutely.
10     A. Okay.                                                         10   BY MS. DAVIS:
11     Q. Do you understand?                                            11     Q. Have you spoken to anyone else about your
12     A. I do understand, yes.                                         12   deposition who wasn't your attorney?
13     Q. Okay. Also, if you don't ask me to clarify, I                 13     A. No.
14   will assume that you've understood the question and that           14     Q. Okay. Have you spoken to anybody else about
15   your answer is based on a full understanding of my                 15   this lawsuit?
16   question.                                                          16     A. Yes, I have.
17         Does that make sense?                                        17     Q. Who? Who did you speak to?
18     A. That does, yes.                                               18     A. Friends and family. I haven't kept this a
19     Q. Okay. We can take breaks during the day. If                   19   secret.
20   you need to take a break, just let us know. However, we            20     Q. Okay. What sort of things have you discussed
21   can't take a break when a question is pending.                     21   with your friends and family about this lawsuit?
22   Therefore, if I or one of the other attorneys ask you a            22     A. Just that it was happening. And there was a
23   question, you need to answer it before requesting a                23   newspaper article in the Mercury News, and I shared that
24   break.                                                             24   with my friends and family. Not everybody but privately
25         Does that make sense?                                        25   with certain family members and friends.


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 1     A. That does, yes.                                                1     Q. There was an article in Mercury News about this
 2     Q. Okay. Do you feel as if you're able to                         2   particular lawsuit?
 3   understand questions and respond to them today?                     3     A. Yes, there is.
 4     A. Yes, I am.                                                     4         MR. KELLY: Ms. Davis --
 5     Q. Okay. And this next question, this is a                        5   BY MS. DAVIS:
 6   standard question that we ask. This is not specific to              6     Q. Do you remember when that article was?
 7   you or your circumstances and meant to imply anything.              7     A. I believe August of 2019.
 8   It's just to make sure the deposition is a good one.                8     Q. Thank you. Did you ever discuss this lawsuit
 9          Have you taken any drugs or alcohol within the               9   on social media?
10   last 24 hours, including prescription drugs?                       10     A. Never. No.
11     A. No, I have not.                                               11     Q. Never? Okay.
12     Q. Okay. Anything else that might impair your                    12         And can you tell me -- outside of
13   ability to answer questions truthfully and fully today?            13   communications with your attorney, which is privileged,
14     A. No.                                                           14   can you please let me know anything else you've done to
15     Q. Okay. Thank you.                                              15   prepare for this deposition?
16          Did you speak with anybody to prepare for                   16     A. I Googled it just to see what the rules are,
17   today's deposition?                                                17   and that was about it.
18     A. Very little, but yes. I talked to my attorney,                18     Q. You mean Googled the rules for a deposition?
19   Tim Kelly.                                                         19     A. Yes.
20     Q. Okay. So you don't have to give me any of the                 20     Q. And do you have any questions about those rules
21   content of the communications between you and your                 21   before we proceed?
22   attorney. Did you review -- but did you review any                 22     A. I do not, no.
23   documents with your attorney?                                      23     Q. Okay. And just so we have this, can you please
24     A. I did not. I was told that they would be on                   24   state your full name for the record and spell it?
25   the record, and if I didn't understand the exact                   25     A. Easton Atwood Stokes, E-a-s-t-o-n A-t-w-o-o-d


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 1     Q. She says that you had actually gone several                     1     Q. I'm going to quote from -- and you're right, it
 2   days without sleep. So I'm trying to nail down the                   2   doesn't say problems, but I'm going to quote from his
 3   timeline here.                                                       3   declaration. It says, in reference to you, "He was
 4         When -- did this not sleeping occur before you                 4   talking about our relationships with current girlfriends
 5   had taken the mushrooms?                                             5   and about one girlfriend he had been dating."
 6     A. That was Friday after. So Friday night I                        6          That that was on your mind during
 7   didn't sleep. Saturday night I might have gotten an                  7   Mr. Bassignani's --
 8   hour. And then Sunday night, those three days in a row               8     A. I believe it might have been a classmate Lola,
 9   was very minimal. Maybe an hour here, hour there. And                9   and we weren't even dating. I just had a crush on Lola,
10   then Monday, that first Monday is when I went in to                 10   but we were not dating.
11   Oakcrest or I went to Kaiser, directly to Kaiser and                11     Q. So you're saying that you didn't have concerns
12   they transferred me to Oakcrest.                                    12   about this young woman?
13     Q. Okay. So the not sleeping that she refers to,                  13     A. Oh, I may have had concerns. I don't -- this
14   your testimony is that that occurred after you took the             14   is in the middle of what was described to me as a
15   mushrooms; you were unable to sleep for several days?               15   drug-induced psychotic episode, and I don't believe
16     A. Yes. That was between the Friday and the                       16   that -- I was not being rational or having clear
17   Monday and -- Friday and Monday, yes.                               17   thoughts at all. This would have been right in the
18     Q. So --                                                          18   middle of that.
19     A. We haven't -- sorry. Go ahead.                                 19          So if I'm talking about -- it wasn't my
20     Q. I'm just -- so your recollection is you took                   20   girlfriend, but I would refer to my friend Jon who
21   the drugs on a Friday, and it was Monday you were                   21   brought that up.
22   transported to the hospital?                                        22     Q. Okay. So you don't recall that you had a
23     A. I drove my -- I drove with Nancy Barker. It                    23   girlfriend you had been dating at that time?
24   would have been Nancy Barker, Donny Barker, and                     24     A. I -- yeah, I had -- the girlfriend who I was
25   Mike O'Brien and Micah Black. We drove -- we had all                25   dating before this happened would have been Heather


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 1   talked together and I needed help and I voluntarily went             1   Bowen, and we had dated and that was a really -- how
 2   with -- Nancy was the driver, and she took all of my                 2   would I describe that? Like a high school, kind of a
 3   friends. We went to Kaiser. And from there I was                     3   kids relationship. But I hadn't -- I didn't have a
 4   transported from Kaiser to Oakcrest.                                 4   girlfriend at that particular time, no.
 5     Q. Okay. We'll get into that. I'm trying to get                    5     Q. So would your relationship with these girls
 6   the previous timeline correct now, but thank you for the             6   have caused you some mental stress or anguish prior to
 7   other information.                                                   7   taking the mushrooms?
 8         So the Friday night was you took the mushrooms.                8     A. I don't believe so, no.
 9   The Saturday night was the trip to Bodega Bay?                       9     Q. So you have no recollection of having concerns
10     A. Yes.                                                           10   or worry about your relationships with girls prior to
11     Q. And during this entire time you did not sleep.                 11   the mushroom ingestion?
12   That's what you think that Mrs. Barker's referring to?              12     A. No.
13     A. Yes. And that Sunday was also -- I might have                  13     Q. Okay. So let's keep moving forward. You said
14   had a couple hours here and there, but my sleeping                  14   that after this sort of three-day drug-induced psychosis
15   rhythm was off.                                                     15   where you weren't sleeping, you were taken to Kaiser.
16     Q. Okay. Another declarant, Joseph Bassignani --                  16   Do you recall how that came about?
17   I may be pronouncing the name wrong.                                17     A. As far as the thought process or the chain of
18     A. Jonathan.                                                      18   events that led to me going there?
19     Q. I'm sorry. For the court reporter that last                    19     Q. Yeah. The chain of events going there.
20   name is B-a-s-s-i-g-n-a-n-i.                                        20     A. I didn't feel -- it was Monday morning and I
21         He stated that you were having some problems                  21   wasn't -- I was emotionally un-capable of attending
22   with a girl that you were dating?                                   22   school, and I wasn't able to just pretend like nothing
23     A. I don't believe that he said there was                         23   happened. I was not well. And that's when -- once I
24   problems. At that time I wasn't dating anybody at that              24   wasn't able to attend school, it was -- I needed help
25   time.                                                               25   and I wasn't sleeping. I was very vocal with my


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 1   friend's mom and my friend's dad as to I'm not doing              1   the adrenaline rush of just getting into a car accident.
 2   well and I need help.                                             2         I remember that I didn't even react, and that's
 3         And could you repeat the question? I'm not                  3   when it seemed like something was wrong. I was
 4   sure if I'm getting off topic.                                    4   completely just unresponsive to that level of danger.
 5      Q. No, it was fine. And we'll come back to that,               5     Q. So you were unresponsive, but it seems like you
 6   but let me just confirm one thing.                                6   have a very clear memory of exactly what happened?
 7         Why did you take the mushrooms on Friday night?             7     A. I remember the car accident, yes, but I
 8   Do you recall that?                                               8   wouldn't describe -- I did not have a very clear memory
 9      A. Yes. It seemed like it would be fun. I didn't               9   of after Friday when I stopped sleeping and not feeling
10   realize how serious and how scary those are. And it              10   myself. I would describe my -- I wouldn't describe my
11   just seemed like a fun thing to do.                              11   memory as very clear. I have good memories of certain
12      Q. Were you -- were your friends, did they                    12   pieces, but when I stopped sleeping, my memory -- a lot
13   regularly ingest mushrooms?                                      13   of my -- I became -- things became much more unclear.
14      A. This was -- it was more of like a house party.             14     Q. But you remember this incident on Saturday
15   And this wasn't my close friends. I didn't do this with          15   night?
16   my close friends. This would have been a house party,            16     A. Yes, I do. Yes.
17   and it was a big party and it just was going around, and         17     Q. And had Donny Barker, is that the -- is that
18   it was like, oh, cool, I can handle that, I'll try that.         18   your friend?
19   And that was really scary. It was a really bad decision          19     A. Yes.
20   and quite terrifying, to be honest.                              20     Q. Had he used alcohol or any drugs during this
21      Q. Did any --                                                 21   incident at Bodega Bay?
22      A. Go ahead.                                                  22     A. Donny Barker, I don't -- he was not in the car
23      Q. Did your friends take the mushrooms as well?               23   when we went out to the beach. It was James Cardwell
24      A. No, they did not. Not my close group of                    24   was driving. Micah Black was in the car, me, Jonathan.
25   friends. It was a bigger house party. And some people            25   I believe there were five of us that went to that --


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 1   were doing it and I'd say most people were not.                   1   were there in that minor car accident.
 2     Q. What about any of the friends who went to                    2     Q. Okay. Is there a reason that Donny Barker
 3   Bodega Bay?                                                       3   wasn't there?
 4     A. They -- none of them had mushrooms that night.               4     A. He was doing something else.
 5   I don't recall who was even there at that house party             5     Q. Okay. All right. So now let's go to Monday.
 6   that night.                                                       6   It was Nancy Barker who drove you to Kaiser?
 7     Q. Had the people that you were with when you                   7     A. Yes. It was Nancy that drove. There was
 8   drove to Bodega Bay, had any of them ingested alcohol?            8   also -- that would have been Mike O'Brien. Mike
 9     A. We -- not before, but I believe some of them                 9   O'Brien's also -- we have the same half-sister. My
10   were drinking beer when we got there. The driver was             10   oldest sister Christine is my half-sister. We share the
11   sober. I hadn't drank anything that day and I didn't             11   same mother. And then that -- and we've been friends
12   drink while we were there, but I believe some of my              12   for a long time. Christine's father, Brendan O'Brien,
13   friends were drinking when we got there.                         13   is the father of Mike O'Brien. So he's not my family
14     Q. You said you had gotten into a minor accident               14   relative, but he is a good friend of mine.
15   on the way there. What happened with that?                       15          So Nancy was driving, Micah Black was there,
16     A. Yes. One second.                                            16   Mike O'Brien was there, me. I think I have that all.
17          It was on Highway 1 right through the town of             17   And Donny drove with us then as well.
18   Bodega Bay and there's a hairpin left-hand turn. And             18     Q. Donny drove with you where?
19   the driver took it too fast. I was in the passenger              19     A. To Kaiser Hospital.
20   seat closest to the impact, and we -- he applied the             20     Q. Why did they all come with you to Kaiser?
21   brakes when he shouldn't have and slid into the                  21     A. It was to be supportive, to be comforting, and
22   guardrail and lifted the car up a little bit. I was              22   to be around me. I was scared and didn't really have a
23   right there in the driver's seat or the passenger -- I           23   good perspective of reality. I was in really a bad, a
24   was a front passenger in the car and everybody else was,         24   very challenging emotional state. I didn't really
25   like, pretty concerned and scared and getting through            25   understand what was going on. I just knew that I wasn't


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 1   well, I wasn't sleeping, and I was scared. So my                      1   decisions for you?
 2   friends were very supportive and they all helped me                   2     A. I was -- it was more of a process I believe
 3   through this process.                                                 3   where it was, hey, this is what happened, are you okay
 4     Q. So who did you meet with at Kaiser?                              4   with this? Yes. There's nowhere for you to stay here
 5     A. I don't recall exactly who I met. I remember                     5   and get help and get treatment. Where there is help and
 6   filling out some questionnaire in the very beginning,                 6   treatment is at Oakcrest. Are you willing to go to
 7   but I don't have a very clear memory of my -- of the                  7   Oakcrest? Yes.
 8   transfer of this. I remember some sort of inpatient                   8          And the hospital provided an ambulance for me
 9   that questioned, but I don't -- I was really exhausted                9   to get there. We had just driven from Occidental to
10   and out of it.                                                       10   Santa Rosa which is probably 16 miles, I'm guessing.
11          I felt safe -- I felt more safe just by being                 11   But we made it a pretty good distance with private
12   in that environment where there was professional care,               12   driving getting there voluntarily. And once I was
13   but I -- could you rephrase that question or repeat the              13   there, it was -- the professional way to get from Kaiser
14   question?                                                            14   to get treatment at Oakcrest was in an ambulance.
15     Q. Who did you meet with at Kaiser?                                15     Q. Okay. I just want to clarify. So agreeing to
16     A. I'm not 100 percent sure. I don't know how the                  16   something is very different from giving up your rights
17   inpatient process went.                                              17   to make decisions, and I think the two are getting
18     Q. Was this a hospital?                                            18   conflated. So I want to clarify with you your
19     A. Yes.                                                            19   testimony.
20     Q. And what happened after you arrived at Kaiser?                  20          You stated you gave up your rights to make
21     A. I was there for a while. My friends were there                  21   decisions; is that correct?
22   with me. And I ended up getting transported from                     22     A. I did. I believe it was either here at Kaiser
23   Kaiser, voluntarily transported with consent. They                   23   or it was at Oakcrest, but I believe it was at Kaiser.
24   wasn't -- there wasn't a service where I could get --                24   That's when I gave up my decision to make -- my consent
25   I'm guessing on that part as far as why I didn't just                25   to make decisions for me. I believe that's when I gave


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 1   stay there. I don't think they have a psychiatric ward,               1   it to Nancy Barker.
 2   and it was clear --                                                   2      Q. And do you recall signing a document to that
 3     Q. I don't --                                                       3   effect?
 4     A. -- to everybody --                                               4      A. I do. Everything's a little bit spotty. I'm
 5     Q. I don't need you to speculate as to their                        5   not sure if this was at Kaiser or at Oakcrest, but I do
 6   decision. I just want to know what happened from your                 6   recall signing documents to have Nancy Barker make
 7   perspective.                                                          7   decisions for me.
 8     A. From there I gave up my rights to make                           8      Q. Do you recall signing documents at both places?
 9   decisions, and I believe it was Nancy Barker who was                  9      A. I do not. I'm not certain if it was at Kaiser
10   talking with the nurses as to what's the best course of              10   or if it was at Oakcrest.
11   action. I needed help. I needed professional care.                   11      Q. Could it have been both?
12   And it wasn't an option -- it wasn't a good decision for             12      A. I don't know how that works. So I would say it
13   me just to go home. There was nowhere else for me to                 13   could have, but I'm not -- I don't know.
14   go. I needed medical treatment. And I voluntarily went               14      Q. And as of today do you have records from either
15   to Kaiser in an ambulance, and that's when I was                     15   place?
16   declared a 5150.                                                     16      A. I do have records from Kaiser, yes. I
17     Q. But you also said you gave up your rights to                    17   requested my complete -- all of the medical records that
18   make decisions?                                                      18   exist. And I have -- I did get that and I'd be willing
19     A. Yes. I wasn't -- I was very consenting to this                  19   to share that. It's a file. I'd be willing to show it,
20   process. I didn't know what was real, what wasn't real.              20   share that.
21   I was scared and I trusted everybody that was around me              21          MR. KELLY: Yeah.
22   to make decisions for me.                                            22   BY MS. DAVIS:
23     Q. Okay. So if you trusted other people to make                    23      Q. When did you get those?
24   your decisions and you gave up your rights to make                   24      A. That was maybe a week ago.
25   decisions, it seems that other people were making the                25      Q. Okay.


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 1         MS. DAVIS: Yeah, we can talk about this time,                    1   and I remember just having a casual conversation with
 2   Tim, but these should probably be produced pursuant to                 2   the EMT.
 3   the judge's order.                                                     3     Q. Okay. What was -- do you recall what you
 4         MR. KELLY: Absolutely. I haven't even had a                      4   discussed?
 5   chance to review them, but I will certainly turn over                  5     A. It was basic -- I think he was just keeping me
 6   what I have.                                                           6   engaged with the weather and the day and just -- I think
 7         THE WITNESS: What happened is I sent you the                     7   he was just being professional as to keeping me engaged
 8   link but it wasn't able to because it was                              8   with the situation as far as -- I don't recall anything
 9   password-protected.                                                    9   specific. I don't think it was an in-depth
10         MS. DAVIS: I'm sorry. This is attorney-client                   10   conversation. It was more just like, hey, how are you?
11   privilege, and it's really risky for us to have you talk              11   I'm guessing at this point, but I remember it was a very
12   about stuff.                                                          12   casual basic conversation just to get me there.
13         MR. KELLY: Just so I won't interrupt, I will                    13     Q. And do you recall what treatment you received
14   certainly provide them to you. I haven't even seen them               14   while you were at Oakcrest?
15   myself, but we are in the process of trying to get                    15     A. What do you mean by "treatment"?
16   medical records.                                                      16     Q. You were there 16 days; is that right?
17         MS. DAVIS: Okay. Given that, I just want to                     17     A. Yes.
18   put this on the record for at least the federal                       18     Q. So how about -- we'll be more general.
19   defendants. Jerry, you can chime on if you want, but I                19         What happened while you were there?
20   think that we should probably reserve some time from                  20     A. Okay. So I remember getting there and being in
21   this deposition to go over any issues that might be --                21   a room and being very confused and disoriented. And
22         MR. KELLY: Absolutely.                                          22   they gave me some sort of sedative, and I just fell
23         MS. DAVIS: Because these issues go directly to                  23   asleep for about -- I don't recall, 72 hours of just
24   the issues in this lawsuit that Judge Alsup has asked us              24   being asleep. And when I woke up I was confused as to
25   to explore, we may need to question your client further.              25   how -- I asked what day it was. Like, what day is it?


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 1   So we may need to reserve some time.                                   1   What time is it? What's happening? I was surprised
 2           MR. KELLY: Absolutely. I think that's a very                   2   that it had been three days.
 3   good idea.                                                             3      Q. Okay. What happened --
 4   BY MS. DAVIS:                                                          4      A. Sorry, someone was in the background from your
 5      Q. So you've gotten your medical records from                       5   TV.
 6   Kaiser, which is great. Have you gotten other paperwork                6      Q. Sorry.
 7   or medical records from Oakcrest?                                      7      A. That's all right.
 8      A. I have not, no.                                                  8      Q. There are multiple people teleworking at our
 9      Q. Okay. In her declaration Nancy Barker spoke --                   9   house. So sorry about that.
10   states that you went into the evaluation interview                    10      A. No worries.
11   yourself. Do you recall what was discussed in that                    11          So I recall -- once I came to, I recall it was
12   evaluation interview at Kaiser?                                       12   having a bunkmate, a roommate in a small room. There
13      A. I cannot recall this part.                                      13   were no doors. I remember eating and having meals. I
14      Q. Okay. Do you --                                                 14   remember being on Zyprexa. There's no more sedative
15      A. I don't remember. Everything is really blurry.                  15   after that initial period. I remember, maybe five or
16   I'm on three days of maybe a couple hours of sleep. I'm               16   six days into it, just feeling restless and needing to
17   somewhat -- I remember being relieved to be in a place                17   move around.
18   where I felt like I was going to get care. But I don't                18          So I went for -- every time they let me outside
19   recall that process, no.                                              19   I would go for a run on the perimeter of Oakcrest's
20      Q. All right. So who took you to Oakcrest?                         20   facilities. It was a really beautiful outdoor setting,
21      A. From Kaiser to Oakcrest I was transported in an                 21   the oak trees and nice grass that time of the year, and
22   ambulance. I remember sitting in the back and having a                22   I remember just running as much as I could while I was
23   conversation with the EMT. I was sitting in their                     23   outside or sitting in the sun.
24   little jump seat. I was not like gurneyed down and out                24          But I remember whatever medication -- it was
25   of it. I was sitting in the back part of the ambulance,               25   Zyprexa. Basically I went in at probably 145 pounds and


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 1   I left at about 170 pounds. And when I was running I                   1   long. And I had really good friends that would visit
 2   wasn't really able to sweat, and I remember that was                   2   me, but that was a real -- that was a big challenge, to
 3   weird, go for a run even with the jacket on and I wasn't               3   kind of face the herd and be a part of school. And I
 4   able to sweat.                                                         4   didn't get bullied or made fun of, but it was really --
 5          I recall earlier on having a lot of friends                     5   I was on guard. It wasn't as friend -- I wasn't having
 6   coming to visit me. They actually -- and there's a                     6   as much as a good time. It was really a lot of work,
 7   weird -- it's a little bit of what I would perceive as a               7   and I had really good friends that would help me through
 8   little bit jealousy from other people. It was so much                  8   that process as far as just being emotionally supportive
 9   commotion. I had a lot of school friends come and visit                9   to get back to school and finish school.
10   me, parents' friends, and they started to have to make                10     Q. Was there a time during those 16 days where you
11   rules as to how to have guests.                                       11   thought that you didn't belong there?
12          And they would have a group of friends come in.                12     A. No. It was hard, but it wasn't -- I wanted to
13   There was a line of really close people. My                           13   graduate, and I really wanted to graduate and just
14   ex-girlfriend Heather Bowen came in to see me there. I                14   continue. I thought that giving up and quitting would
15   remember Jon Kincheloe, who's one of my best friend's                 15   have really been have a negative impact for the rest of
16   father, he came and visited and we chatted outside.                   16   my life. If I wasn't able to rise to that challenge
17          I remember doing little projects to keep people                17   then, then it seemed like an obstacle that I really had
18   engaged, little groups, and this is not with the guests               18   to do.
19   but with the -- not with my friends but with the people               19     Q. So when you say graduate, did the therapist
20   that were inpatient -- of doing group activities, having              20   that you worked with talk about this in terms of
21   circle conversations or drawing or doing a music thing.               21   graduating from a program while you were there?
22          I remember this was also a facility that                       22     A. No. I didn't have any therapy. It was
23   would -- people that were mentally -- I don't even know               23   graduating from high school to get my diploma.
24   how you'd say that, but people that were waiting to go                24     Q. Oh, okay. That's not what I'm asking about.
25   to court but not capable of staying in a jail also                    25         Was there any time when you were at Oakcrest


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 1   stayed here. And my bunk -- my roommate was waiting to                 1   where you thought you didn't belong there?
 2   go to see the judge, and he was a Sonoma County -- going               2      A. Oh, that I didn't belong at Oakcrest?
 3   to see the Sonoma County judge. Very friendly.                         3      Q. Yeah.
 4          I remember one time there was -- there was a                    4      A. No. I knew that something was wrong. I didn't
 5   few scary incidents. There's no doors. I remember at                   5   know what it was and this was the place to get help. So
 6   one point waking up for just no reason, and there was an               6   I trusted the professionals to -- no, I felt like I was
 7   older woman with toothpaste dripping down her face and I               7   really out of it, and I was still scared of that
 8   was just, like, confused. And she was saying weird                     8   incident where I didn't -- no, I felt like I needed
 9   stuff to me while I was sleeping. And that's when I                    9   help.
10   went and got help from staff, and that was really a                   10      Q. Okay.
11   frightening part.                                                     11      A. I didn't fit in with your average -- I
12          I remember about maybe -- it might have been a                 12   definitely stood out like a sore thumb compared to the
13   week or a week and a half. I remember the last week                   13   other people that were getting medical treatment. There
14   that I was in there, it was the student -- my student                 14   was one other person that was about my age, but other
15   counselor at El Molino High School -- would bring me                  15   than that, almost everybody else was much older.
16   homework assignments or send homework assignments with                16          Did I answer that well enough?
17   my friends, so I was able to somewhat stay on focus.                  17      Q. No, you answered that fine.
18   And they're really basic simple, like, worksheets and                 18          Did you ever ask if you could leave the
19   read this and answer these questions with history and a               19   facility?
20   little bit of math and a little bit of science. It was                20      A. No. I do remember -- I don't remember how far
21   basically to keep me in the school program.                           21   into it. It might have been seven days, it might have
22          And I was -- when I did get out, I was able to                 22   been ten days. I'm not sure how long, but I do remember
23   transition right back to El Molino High School. And                   23   an evaluation with a doctor and he let me know that I
24   that was a really challenging time, to have people know               24   could petition to get out. And I asked him, I said, "I
25   that I had been in the hospital and been gone for so                  25   don't really feel comfortable making this choice myself.


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                                CERTIFICATE OF SERVICE
Case Name:       Easton Stokes v. US DOJ, et al           No.    3:19-cv-04613-WHA

I hereby certify that on May 27, 2021, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:


 DEFENDANT CALIFORNIA ATTORNEY GENERAL ROB BONTA’S OPPOSITION
         TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT


I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on May 27,
2021, at Sacramento, California.




               Lindsey Cannan                                   /s/ Lindsey Cannan
                  Declarant                                           Signature

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